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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                    MOTION FOR ADMISSION PRO HAC VICE


Case Number: _22-cv-00736-NEB-LIB_________________

Case Title: _Mackie et al v. American Honda Motor Co., Inc. et al_____________


                                       Affidavit of Movant

I, Daniel C. Hedlund, an active member in good standing of the bar of the U.S. District Court for
the District of Minnesota, request that this Court admit pro hac vice Stephen R. Basser, an attorney
admitted to practice and currently in good standing in the U.S. District Court for District of
Southern California, but not admitted to the bar of this court, who will be counsel for the plaintiffs
Eric Mackie, Joshua Biggs and Ruth Mattison in the case listed above.

I am aware that the local rules of this court require that an active Minnesota resident, unless the
court grants a motion for a non-Minnesota resident to serve as local counsel, who is a member in
good standing of the bar of this court participate in the preparation and presentation of the case
listed above, and accept service of all papers served.

Check one of the following:

X I am a resident of the State of Minnesota, and agree to participate in the preparation and the
presentation of the case above and accept service of all papers served as required by LR 83.5(d)
(sign and complete information below).

     I am not a resident of the State of Minnesota and hereby move for permission to act as local
counsel under LR 83.5(d). I agree to participate in the preparation and the presentation of the case
listed above, and accept service of all papers served as required by LR 83.5(d) should my motion
for a non-resident to serve as local counsel be granted by the court (sign and complete information
below and attach a completed Motion for Permission for a Non-Resident to Serve as Local
Counsel).

       Signature:/s/ Daniel C. Hedlund                        Date: December 15, 2022

       MN Attorney License #: 258337




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                                Affidavit of Proposed Admittee


I, Stephen R. Basser_, am currently a member in good standing of the U.S. District Court for the
Southern District of California, but am not admitted to the bar of this court. I understand that if
this Court grants me admission pro hac vice, the moving attorney identified in this motion must
participate in the preparation and presentation of the case listed above, and must accept service of
all papers served as required by LR 83.5(d). I further understand that the District of Minnesota is
an electronic court and that I will receive service as required by Fed. R. Civ. P. 5(b) and 77(d) by
electronic means and I understand that electronic notice will be in lieu of service by mail.

Signature: /s/ Stephen R. Basser                     Date: December 15, 2022

Typed Name: Stephen R. Basser

Attorney License Number: 121590                 Issued by the State of California

Federal Bar Number (if you have one):

Law Firm Name: Barrack, Rodos & Bacine

Law Firm Address: 600 W Broadway

                    Suite 900

                    San Diego, California 92101

Main phone: (619)230-0800          Direct line: (619)_230-0800, ext. 208__

E-mail address: sbasser@barrack.com




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